          Case 1:21-cr-00268-CJN Document 54 Filed 03/28/22 Page 1 of 7



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Case No. 21-CR-268 (CJN)
                                              :
JEFFREY MCKELLOP,                             :
                                              :
                        Defendant.            :


              UNITED STATES’ MOTION IN LIMINE REGARDING
       CROSS-EXAMINATION ABOUT U.S. SECRET SERVICE PROTECTION

       The United States of America moves to limit the cross-examination of witnesses regarding

United States Secret Service protection at the Capitol on January 6, 2021, pursuant to Fed. R. Evid.

401, 403, and 611(b).

                                       INTRODUCTION

       In Count Seven of the Superseding Indictment, the defendant is charged with obstructing,

impeding, and interfering with, or attempting to obstruct, impede, or interfere with, law

enforcement officers during the breach of the United States Capitol on January 6, 2021, in violation

of 18 U.S.C. § 231(a)(3). In Counts Eight, Nine, and Ten, the defendant is charged with violating

18 U.S.C. § 1752(a)(1), (a)(2), and (a)(4), and (b)(1)(A), by knowingly entering or remaining in a

restricted building or grounds without lawful authority, knowingly, and with intent to impede or

disrupt the orderly conduct of Government business and official functions, engaging in disorderly

or disruptive conduct in, or within proximity of, any restricted building or grounds, when such

conduct does in fact impede or disrupt Government business and official functions, and engaging

in any act of physical violence against any person and property in a restricted building or grounds,

while using and carrying a deadly and dangerous weapon. Superseding Indictment, ECF No. 43.
          Case 1:21-cr-00268-CJN Document 54 Filed 03/28/22 Page 2 of 7



Section 1752 defines “restricted buildings or grounds” to include any building or grounds

temporarily visited by a person being protected by the Secret Service. 18 U.S.C. § 1752(c)(1)(B).

       To meet its burden of proof at trial, the government may call a witness to testify that at the

time of the Capitol breach, Secret Service agents were on duty to protect Vice President Mike

Pence and his two immediate family members, all of whom were present at the Capitol. These

officials will further testify about the Capitol breach’s effect on the Secret Service’s protection of

Vice President Pence and his family members.

       However, the very nature of the Secret Service’s role in protecting the Vice President and

his family implicates sensitive information related to that agency’s ability to protect high-ranking

members of the Executive branch and, by extension, national security. Thus, the government seeks

an order limiting the cross-examination of witnesses to questioning about the federally protected

function performed by the Secret Service, in this case protecting the Vice President and his family,

and relevant restricted area, as testified to on direct exam. The government further requests that

such order preclude cross-examination that would elicit information that is not directly related to

whether the Secret Service was performing that function at the Capitol on January 6, 2021. The

defendant should be specifically foreclosed from questioning the witnesses about the following:

       1. Secret Service protocols related to the locations where protectees or their motorcades

           are taken at the Capitol or other government buildings when emergencies occur;

       2. Details about the nature of Secret Service protective details, such as the number and

           type of agents the Secret Service assigns to protectees. 1



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  In other cases stemming from the events of January 6, 2021, the government previously sought
to preclude questioning regarding a third category of information: the location within the Capitol
or its grounds to which the Vice President and his family, or their motorcade, were taken once the
riot began on January 6, 2021. However, this information was recently elicited and, accordingly,
made public, during Secret Service testimony at trial in United States v. Couy Griffin, 21-CR-92

                                                  2
            Case 1:21-cr-00268-CJN Document 54 Filed 03/28/22 Page 3 of 7



                                           ARGUMENT

       I.      This Court Has the Discretion to Limit Cross-Examination of Witnesses at
               Trial

       It is well-established that a district court has the discretion to limit cross examination. See

Alford v. United States, 282 U.S. 687 (1931) (“The extent of cross-examination [of a witness] with

respect to an appropriate subject of inquiry is within the sound discretion of the trial court.”). A

court has the discretion to prohibit cross-examination that goes beyond matters testified to on direct

examination. Fed. R. Evid. 611(b). This is particularly so when the information at issue is of a

sensitive nature. See, e.g., United States v. Balistreri, 779 F.2d 1191, 1216-17 (7th Cir. 1985)

(upholding district court’s decision to prohibit cross-examination of agent about sensitive

information about which that agent did not testify on direct examination and which did not pertain

to the charges in the case), overruled on other grounds by Fowler v. Butts, 829 F.3d 788 (7th Cir.

2016). Other permissible reasons for limiting cross-examination include preventing harassment,

prejudice, confusion of the issues, or repetitive, cumulative, or marginally relevant questioning.

Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

       The Confrontation Clause guarantees only “an opportunity for effective cross-examination,

not cross-examination that is effective in whatever way, and to whatever extent, the defense might

wish.” Delaware v. Fensterer, 474 U.S. 15, 20 (1985). Even evidence that may be relevant to an

affirmative defense should be excluded until the defendant sufficiently establishes that defense

through affirmative evidence presented during his own case-in-chief. See United States v. Lin, 101

F.3d 760, 768 (D.C. Cir. 1996) (acknowledging trial court has discretion to limit cross-examination

on prejudicial matters without reasonable grounding in fact); United States v. Sampol, 636 F.2d




(TNM). Accordingly, the government no longer seeks to foreclose questioning as to that category
of information.

                                                  3
          Case 1:21-cr-00268-CJN Document 54 Filed 03/28/22 Page 4 of 7



621, 663-64 (D.C. Cir. 1980) (holding that trial court properly limited cross-examination of alleged

CIA murder scheme until defense put forth sufficient evidence of the affirmative defense in its

case-in-chief); United States v. Stamp, 458 F.2d 759, 773 (D.C. Cir. 1971) (finding trial court

properly excluded cross examination of government’s witness with response to matter only related

to an affirmative defense and not elicited through direct exam). Preventing the defendant from

exploring the topics identified above will not infringe his Confrontation Clause rights because

those topics are not relevant to an element at issue in the case, provide no basis for impeaching

witnesses, and do not implicate any affirmative defense.

       II.     Cross-Examination of Witnesses on this Topic Should Be Limited to
               Whether the Capitol Breach Interfered with a Federally Protected Function
               and Whether the Capitol was Restricted on January 6, 2021

       To prove Counts Seven, Eight, Nine, and Ten, the government intends to offer limited

testimony about the Secret Service’s protection of certain officials on January 6, 2021. First, to

establish a violation of 18 U.S.C. § 231(a)(3), the government must prove, among other things,

that a civil disorder interfered with a federally protected function. 18 U.S.C. § 231(a)(3); United

States v. Red Feather, 392 F. Supp. 916, 918-19 (D. S.D. 1975). A “federally protected function”

includes any lawful function, operation, or action by a federal agency or officer. 18 U.S.C. §

232(3). Thus, the government must prove that the January 6 breach interfered with a federal agency

or federal officer’s performance of lawful duties. To meet this element, the government intends to

offer the testimony that pursuant to authority under 18 U.S.C. § 3056(a)(1), on January 6, 2021,

Secret Service agents were at the Capitol to protect Vice President Mike Pence and two members

of his immediate family. 2 A Secret Service official is further expected to explain how the events




2
 The Secret Service is authorized to protect the Vice President and his immediate family. 18
U.S.C. §§ 3056(1) and (2).

                                                 4
          Case 1:21-cr-00268-CJN Document 54 Filed 03/28/22 Page 5 of 7



at the Capitol on that date affected the Secret Service’s ability to protect Vice President Pence and

his family.

        With respect to Counts Eight, Nine, and Ten, similar testimony will be offered to establish

that the Capitol and its grounds were “restricted,” for purposes of § 1752(a) because the Vice

President and his family were present there and being protected by the Secret Service. See 18

U.S.C. § 1752(c)(1)(B) (defining restricted buildings and grounds).

        Cross-examination of witnesses about extraneous matters beyond the scope of direct

examination should be excluded as irrelevant and an unnecessary intrusion into sensitive national

security matters. The fact that the Vice President, his family, and their motorcade had to be moved

for safety is relevant to whether the civil disorder adversely affected the Secret Service’s ability to

protect those individuals. But the Secret Service’s general protocols about relocation for safety

should be excluded as irrelevant because such evidence does not tend to make a fact of

consequence more or less probable. Fed. R. Evid. 401 (defining relevant evidence). Similarly,

evidence of the nature of Secret Service protective details is not relevant in this case. The number

or type of assigned agents on a protective detail does not alter the probability that the disorder

interfered with the Secret Service’s duties to protectees in this case, or that the Capitol and its

grounds were restricted at the time. None of the other elements to be proven, or available defenses,

implicates further testimony from the Secret Service.

       Further, those topics implicate sensitive matters of national security. Hopefully, January 6,

2021, will be the last time that the Secret Service has to evacuate the Vice President (or the

President) to a secure and secret location inside the United States Capitol. But if it is not, providing

enemy nations or terrorists with information that would help them capture or kill those officials

could be devastating.




                                                   5
            Case 1:21-cr-00268-CJN Document 54 Filed 03/28/22 Page 6 of 7



          Even assuming the evidence to be excluded is marginally relevant, such relevance is

substantially outweighed by the danger of confusion of the issues, mini-trials, undue delay, and

waste of time. See United States v. Mohammed, 410 F. Supp. 2d 913, 918 (S.D. Cal. 2005) (finding

that information having broader national security concerns can be excluded under Rule 403

because its tendency to confuse the issues, mislead the jury, create side issues or a mini-trial can

result in undue prejudice that substantially outweighs any probative value). Broader cross-

examination of witnesses could compromise national security without adding any appreciable

benefit to the determination of the truth, or the veracity or bias of witnesses. Id.

   III.      The Government Requests an In Camera Proceeding to Determine the
             Admissibility of Certain Evidence

          If this court determines that a hearing is necessary to determine the admissibility of

testimony about Secret Service protection, the government requests the hearing be conducted in

camera and ex parte. Courts have found that disclosure of information that could prove detrimental

to the Secret Service’s ability to protect high-level government officials and affect our national

security justify ex parte, in camera proceedings. See Gilmore v. Palestinian Interim Self-Gov’t

Auth., 843 F.3d 958, 968 (D.C. Cir. 2016) (ex parte proceedings are appropriate where a party

sought sensitive intelligence materials generated in the midst of a geopolitical conflict); United

States v. Kampiles, 609 F.2d 1233, 1248 (7th Cir. 1979) (“It is settled that in camera ex parte

proceedings to evaluate bona fide Government claims regarding national security information are

proper.”); In re Taylor, 567 F.2d 1183, 1188 (2d Cir. 1977) (finding that in camera proceedings

“serve to resolve, without disclosure, the conflict between the threatened deprivation of a party’s

constitutional rights and the Government’s claim of privilege based on the needs of public

security”); United States v. Brown, 539 F.2d 467, 470 (5th Cir. 1976) (per curiam) (same); see




                                                  6
          Case 1:21-cr-00268-CJN Document 54 Filed 03/28/22 Page 7 of 7



generally United States v. Nixon, 418 U.S. 683, 714 (1974) (affirming district court’s order for in

camera inspection of subpoenaed presidential materials).

                                        CONCLUSION

       For these reasons, the United States requests that this court enter an order, as described

above, limiting cross-examination of any witness about U.S. Secret Service protection, regardless

of whether that witness is called by the government or the defense. If this court determines an

evidentiary hearing is necessary to rule on this motion, the government asks that the hearing be

held in camera and ex parte.

                                             Respectfully submitted,

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